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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

IVETTE M. MARTINEZ GONZALEZ, ET
AL.,

     Plaintiffs,

                   v.                               CIVIL NO. 16–2077 (GAG-BJM)

CATHOLIC SCHOOLS OF THE AR-
CHIDIOCESES OF SAN JUAN PENSION
PLAN, ET AL.,

   Defendants.



       Joint Informative Motion Regarding Upcoming Meet-and-Confer Meeting

To The Honorable Court:

       The plaintiffs and Defendants Catholic Schools of the Archdioceses of San Juan

Pension Plan and the Superintendence of Catholic Schools of the Archdioceses of San

Juan respectfully inform this Court that—“to secure the just, speedy, and inexpensive

determination of every action and proceeding,” Fed. R. Civ. P. 1—they will meet on

Monday, August 28, 2017 to confer in good faith about a potential out-of-court solution

to the plaintiffs’ motion to compel. Cf. Plaza Carolina Mall, L.P. v. Municipality of Barce-

loneta, No. 13-1264, 2015 WL 4250852, at *3 n. 6 (D.P.R. July 13, 2015) (Gelpí, J.) (“As al-

ways, all parties . . . are required to engage in good faith discovery efforts. For the most
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part, discovery is conducted at the behest of the parties and without the court's inter-

vention.”).

     Thus, the appearing parties respectfully request that this Court note this motion.

Dated: August 23, 2017                    Respectfully submitted,



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                                            perintendence of Catholic Schools of the
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                               CERTIFICATE OF SERVICE

       I certify that, on this day, the foregoing was electronically filed with the

Clerk of Court by using the CM/ECF system, which will send a notice of electronic filing

to all counsel of record.



                                      By: /s/ Jaime L. Sanabria Montañez




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